                           Fourth Court of Appeals
                                 San Antonio, Texas
                                       August 14, 2024

                                     No. 04-24-00151-CV

                          IN THE INTEREST OF L.Z.R., a Child

                  From the 73rd Judicial District Court, Bexar County, Texas
                               Trial Court No. 2022PA01163
                     Honorable Charles E. Montemayor, Judge Presiding

                                           ORDER

       In accordance with this court’s opinion of this date, this appeal is DISMISSED. Costs of
the appeal are taxed against appellant.

       It is so ORDERED on August 14, 2024.


                                               _____________________________
                                               Rebeca C. Martinez, Chief Justice

       IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the said
court on this 14th day of August, 2024.

                                               _____________________________
                                               Luz Estrada, Chief Deputy Clerk
